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10   UNITED STATES OF AMERICA

11                          UNITED STATES DISTRICT COURT

12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13 UNITED STATES OF AMERICA,                No. 2:21-cr-00127-MCS

14             Plaintiff,                   ORDER ON JOINT REQUEST FOR STATUS
                                            CONFERENCE (ECF No. 64)
15                   v.

16 DOUGLAS CHRISMAS,

17             Defendant.

18

19        Based on the request from the parties, the Court hereby orders

20   a status conference for October 16, 2023, at 11:00 a.m.           Defendant

21   is ordered to appear at the conference.

22        IT IS SO ORDERERD.

23   Dated: October 13, 2023
24                                       HON. MARK C. SCARSI
                                         United States District Judge
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